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                      EXHIBIT 1
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                        Rider to Quinn Emanuel Subpoena
      1.     Documents sufficient to identify the 11 individuals interviewed and the

22 additional key personnel who either declined or did not respond to the requests,

as stated on page 4 of the Final Report for the Michigan State University Board of

Trustees Regarding a Review of Title IX Policies and Procedures, Including the

Departure of Sanjay Gupta as Dean of the Eli Broad College of Business, and Policy

Recommendations Arising from Such Review, dated March 31, 2023 (the “Quinn

Emanuel Report”).

      2.     The documents analyzed for the Quinn Emanuel Report, identified as

“over 9,300 documents” on pages 4 and 12 of the Quinn Emanuel Report.

      3.     The contents of the dedicated email address referenced on page 4 of the

Quinn Emanuel Report, including but not limited to all emails received and sent,

including any attachments thereto.

      4.     The interim presentations to the Board advising the Trustees of Quinn

Emanuel’s initial conclusions and recommendations, referenced on page 4 of the

Quinn Emanuel Report.

      5.     Documents sufficient to identify the specific documents requested by

Quinn Emanuel, including but not limited to custodians and any search terms.
